        Case 1:17-cv-00099-LAG Document 62 Filed 02/14/19 Page 1 of 4




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                               ALBANY DIVISION
________________________________
                                         )
K.A., a minor, by and through her next )
friend and guardian, Lisa Adams, et al., )   CIVIL ACTION NO.:
individually and as representatives      )   1:17-cv-00099-LJA
of a proposed class,                     )
                                         )
       Plaintiffs,                       )
                                         )
       v.                                )
                                         )
JEFF HOBBY, Sheriff of Worth             )
County, Georgia, in his individual       )
capacity, et al.,                        )
                                         )
       Defendants.                       )
________________________________ )

                   NOTICE OF FUNDING DISCREPANCY

      Class counsel hereby notify the Court that, likely due to a failure to account

for cents or fractions of cents in establishing the per-student distribution amounts,

the amount paid as ordered by ACCG-IRMA for the Total Class Distribution of

$2,121,345.00 is $83.10 less than the amount required to fully fund the individual

settlement payments to class members as provided for in the parties’ Agreement

and the Court’s Order. (Doc. 60.) In order to ensure that the class is not

prejudiced in any way, class counsel will, by no later than February 28, 2019,

deposit the amount of the discrepancy -- $83.10 -- into the trust account established
        Case 1:17-cv-00099-LAG Document 62 Filed 02/14/19 Page 2 of 4




for purposes of award payment in this case. These funds will be drawn from and

will concomitantly reduce class counsel’s attorney’s fee award. Assuming that at

least one settlement check remains uncashed and is therefore forfeited according to

the terms of the Court’s Order, the $83.10 from class counsel will be deposited,

along with any other unclaimed funds, into the Cy Pres Fund established by

ACCG-IRMA. In no case will these discrepancy funds be withdrawn and returned

to class counsel.

      Class counsel has been authorized by counsel for Defendants to inform the

Court that Defendants have no objection to the arrangement described above.

      Respectfully submitted this 15th day of February, 2019.


                                             /s/ Mark Begnaud
                                             Mark Begnaud
                                             Ga. Bar No. 217641
                                             Nathanael Horsley
                                             Ga. Bar No. 367832
                                             HORSLEY BEGNAUD LLC
                                             750 Hammond Drive
                                             Building 12, Suite 300
                                             Atlanta, Georgia 30328
                                             (770) 765-5559
                                             (404) 602-0018 (fax)
                                             mbegnaud@gacivilrights.com




                                         2
Case 1:17-cv-00099-LAG Document 62 Filed 02/14/19 Page 3 of 4




                                  /s/ Aaron Littman
                                  Sarah Geraghty
                                  Ga. Bar No. 291393
                                  Gerald Weber
                                  Ga. Bar No. 744878
                                  Aaron Littman
                                  Ga. Bar No. 843053
                                  SOUTHERN CENTER
                                  FOR HUMAN RIGHTS
                                  83 Poplar Street, NW
                                  Atlanta, Georgia 30303
                                  (404) 688-1202
                                  (404) 688-9440 (fax)
                                  sgeraghty@schr.org

                                  Counsel for Plaintiffs




                              3
          Case 1:17-cv-00099-LAG Document 62 Filed 02/14/19 Page 4 of 4




                         CERTIFICATE OF SERVICE

      I hereby certify that on this date I have electronically filed the foregoing

NOTICE OF FUNDING DISCREPANCY using the CM/ECF electronic filing

system, which will automatically send notification of such filing to all attorneys of

record.

      This 15th day of February, 2019.


                                              /s/ Mark Begnaud
                                              Mark Begnaud
                                              Ga. Bar No. 217641
                                              HORSLEY BEGNAUD LLC
                                              750 Hammond Drive
                                              Building 12, Suite 300
                                              Atlanta, Georgia 30328
                                              (770) 765-5559
                                              (404) 602-0018 (fax)
                                              mbegnaud@gacivilrights.com

                                              Counsel for Plaintiffs




                                          4
